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        SCHEDULE A                                                Insurance Information                                                    OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury                     This schedule is required to be filed under section 104 of the
         Internal Revenue Service                      Employee Retirement Income Security Act of 1974 (ERISA).                                  2022
           Department of Labor
  Employee Benefits Security Administration                      File as an attachment to Form 5500.
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                   This Form is Open to Public
                                                                    pursuant to ERISA section 103(a)(2).                                     Inspection
For calendar plan year 2022 or fiscal plan year beginning        01/01/2022                                  and ending     12/31/2022
A Name of plan                                                           B Three-digit
ABCDEFGHI      ABCDEFGHI
 JONES LANG LASALLE    GROUPABCDEFGHI
                               BENEFITS PLAN   ABCDEFGHI ABCDEFGHI ABCDE    plan number (PN)               501         001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
ABCDEFGHI      ABCDEFGHI
JONES LANG LASALLE           ABCDEFGHI
                       AMERICAS,    INC.       ABCDEFGHI ABCDEFGHI ABCDE    012345678
                                                                             XX-XXXXXXX
FGHI ABCDEFGHI
  Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                 on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI ABCDEFGHI
UNITEDHEALTHCARE        ABCDEFGHI
                 INSURANCE COMPANY                        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                     (e) Approximate number of                      Policy or contract year
                                     (c) NAIC            (d) Contract or
         (b) EIN                                                                      persons covered at end of
                                       code           identification number                                                  (f) From                    (g) To
                                                                                        policy or contract year
XX-XXXXXXX                       79413           712525                                           5212                 01/01/2022                 12/31/2022
012345678                         ABCDE          ABCDE0123456789                   1234567                                YYYY-MM-DD                YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                      (b) Total amount of fees paid
                                                   123456789012345                                                                             123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                        (d) Purpose                              (e) Organization code
     -123456789012345                           -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                 1
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                              Fees and other commissions paid
   (b) Amount of sales and base
        commissions paid                               (c) Amount                                        (d) Purpose                              (e) Organization code
     -123456789012345                           -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                 1
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                  Schedule A (Form 5500) 2022
                                                                                                                                                           v. 220413




                                                                              EXHIBIT C
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       Schedule A (Form 5500) 2022                                                 Page 2 – 1 1 x

                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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 Part II         Investment and Annuity Contract Information
            Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
            this report.
4 Current value of plan’s interest under this contract in the general account at year end................................................. 4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end................................................... 5 123456789012345
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b      Premiums paid to carrier ......................................................................................................................................       6b       -123456789012345
   c      Premiums due but unpaid at the end of the year ..................................................................................................                     6c       -123456789012345
   d      If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                               -123456789012345
          retention of the contract or policy, enter amount. ..................................................................................................
                                                                                                                                                                                6d
          Specify nature of costs 


   e      Type of contract: (1) X individual policies                                   (2) X group deferred annuity
          (3) X other (specify)               

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X                                                                     X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b      Balance at the end of the previous year ...............................................................................................................
                                                                                                                                                                7b                       123456789012345
   c      Additions: (1) Contributions deposited during the year ................................                           7c(1)                  -123456789012345
          (2) Dividends and credits ..............................................................................          7c(2)                  -123456789012345
          (3) Interest credited during the year..............................................................               7c(3)                  -123456789012345
          (4) Transferred from separate account .........................................................                   7c(4)                  -123456789012345
          (5) Other (specify below) ..............................................................................          7c(5)                  -123456789012345
        


       (6)Total additions..................................................................................................................................................    7c(6)     1234567890123450
    d Total of balance and additions (add lines 7b and 7c(6)). ......................................................................................                           7d       1234567890123450
    e Deductions:
         (1) Disbursed from fund to pay benefits or purchase annuities during year                                          7e(1)                  -123456789012345
         (2) Administration charge made by carrier.....................................................                     7e(2)                  -123456789012345
         (3) Transferred to separate account ..............................................................                 7e(3)                  -123456789012345
         (4) Other (specify below) ...............................................................................          7e(4)                  -123456789012345
        


         (5) Total deductions...............................................................................................................................................   7e(5)     1234567890123450
    f     Balance at the end of the current year (subtract line 7e(5) from line 7d) ..............................................................                              7f       1234567890123450
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 Part III         Welfare Benefit Contract Information
                  If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                  the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                  employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)                                    b X Dental                                       c X Vision                                            d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                   g X Supplemental unemployment h X Prescription drug
  i X Stop loss (large deductible)                                            j X HMO contract                                 k X PPO contract                                      l X Indemnity contract
  m X Other (specify)  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                   ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received .................................................................                   9a(1)                    -123456789012345
      (2) Increase (decrease) in amount due but unpaid ....................................                           9a(2)                    -123456789012345
      (3) Increase (decrease) in unearned premium reserve ..............................                              9a(3)                    -123456789012345
      (4) Earned ((1) + (2) - (3))..................................................................................................................................................
                                                                                                                                                                            9a(4)      1234567890123450
   b Benefit charges (1) Claims paid ................................................................                 9b(1)                    -123456789012345
      (2) Increase (decrease) in claim reserves .................................................                     9b(2)                    -123456789012345
      (3) Incurred claims (add (1) and (2)) ..................................................................................................................              9b(3)      1234567890123450
      (4) Claims charged ............................................................................................................................................       9b(4)      123456789012345
   c Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                      -123456789012345
           (A) Commissions ................................................................................ 9c(1)(A)                           -123456789012345
           (B) Administrative service or other fees ..............................................                 9c(1)(B)                    -123456789012345
           (C) Other specific acquisition costs.....................................................               9c(1)(C)                    -123456789012345
           (D) Other expenses ............................................................................ 9c(1)(D)                            -123456789012345
           (E) Taxes ............................................................................................ 9c(1)(E)                     -123456789012345
           (F) Charges for risks or other contingencies ....................................... 9c(1)(F)                                       -123456789012345
           (G) Other retention charges ................................................................ 9c(1)(G)                               -123456789012345
           (H) Total retention ....................................................................................................................................... 9c(1)(H)        1234567890123450
       (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.) ..................                                                    9c(2)      123456789012345
   d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement................                                                   9d(1)      123456789012345
       (2) Claim reserves ............................................................................................................................................      9d(2)      123456789012345
       (3) Other reserves ............................................................................................................................................      9d(3)      123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).)...............................                                                 9e       123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier ....................................................................................                             10a       123456789012345  1062408
   b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                                        -
       retention of the contract or policy, other than reported in Part I, line 2 above, report amount. ..........................                                           10b       123456789012345
    Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD ABC
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
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ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

 Part IV      Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............. X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
